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‘lN THEjSTA'_TE COURT{)F COFFEE COUNTY

,/' . ."'m "
il ; :'
1

STATE OF GEORGIA

CEDRiC JONE__S as the surviving spouse of
BRANDI NlCOLE GRIFFIN JONES,

Plainriz"f,
V.

WALLACE STEVE ANDERSON, D. O. in
his individual a1_1_d professional capacit‘y,
TAMMY NICHOLE BASS, `LPN, 111 her
individual and 111_'0fessia11111.capaf‘?’_

SOUTH GEOR_GI;A CORRE_C-"i i()NAL
MEDICINE, -LLC; DR. STEV_E
ANDERSON B_EHAV!ORAL M_EDICINE
LLC, DR STEVE ANDERSON, '.P C.,
SHANTAVIA JACKSON, in her individual
capacity, _LIN__DA HOLLA`ND, in her
indi\`_'id`\ial 1:_111:_)11¢:113’1 ASH_LEY
R]CKETS()_N;‘ iii her individuél capacity
JOHN COURSON, in his individual
capi:l\c_it}, B_RENT HATCHER, 111 his
individual capa`¢i_t3, KALEB SMITH in his
indiw_di_xaf ca`p`11_`citj,', MIGUEL LO_PEZ,' m

his mdii»idual capaciqr, CHARLES LEWIS `

SMI'I`H, II, in 1115 individual capacity, K_IM
PHILL'I`PS, in his inciividual cgpacify,
DOYLE WOGTEN in his_ individual and
professional capacity and 'I`HE COFFEE
COUNTY SHERIFF’S OFFICE,

Defendants.

 

 

CIVIL ACTION NO.

COiVIPLAlNT F{)R DAMAGES

;; EF:LED 111 oFFlc:E
CL?_P.K OF~' .‘STATE COL.!HT
C-OFFEE \C.`.OUNTY1 GEOHG!A

31'€20`17€300035

MAV 12,2[1`171‘1:23 AM

  

cmr.\.- con-1111 c\¢urgr.

COM.ES NOW, Piaintiffand files this Compiaint for Damages, respectfu!ly showing this

Honorabie Court the following

1`11&1'¢-`:':‘12~71-"`

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'. marine venue linn JURisD`icfi’f`oN
l.

Ced_ric loncs is a resident cf the State ofGeorgia. Pursnent to.O.C.G.A. § 5l-4~2, Cedric

Jones is entitled to bring this action as the surviving spouse oi`Brandi Nicole Grit"iin Jenes.
2.

Scuth Gecrgia Ccrrecticnzil Medicinc, LLC is a domestic limited liability company, and
is deemed to reside in Ccffee` Connty because it maintains its principal office there Pursusnt tc
O,C.G.A. § l4-2-510(b)(3) and the allegations herein Scutli Gecrgis Ccrrectional Medicine,
LLC is subject tc the venue and jurisdiction cfthis Couri. The p:incipal piece of business for
Defendant Scuth Gecrgia Corrccticnai lvledicine, LLC is 131 l` Ocills Road, Dcuglas, Georgia
3 1533.

3-.

Dr. Steve Anderscn Behavicral Medicine, LLC is s domestic limited liability, and is
deemed to reside in Coffee Ccunty because it maintains its principal office there Pnrsuant tc
O.C.G.A. § l4-2~510(b)(3) and the allegations herein South Geoi'gja Currecticna_l Medicinc,
LLC is subject to the venue and jurisdiction cfthis Coud. llie principal place cf business for
Dei`endant Dr. Steve Anderson Behavicral Medicine, LLC is i`3I l Ocilfzi Road, Dcuglas,

Gcorgia 31533.

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4.

Dr. Steve Andcrson, P.C. is a domestic limited liability, and is deemed to reside in Cof"i`ee
Coonty because it maintains its principal office there Pursuant to O.C.G.A. § l4~2-51U(b)(3)
and the allegations herein Dr. Steve Anderson, P.C. is subject to the venue and jurisdiction of
this Court. 'l`lie principal place ofbu_siness for Defendant Dr. Steve Anderson, P.C.. is 131 l Gcilla
Road, Dougias, Georgia 31533.

5.

Wallace Stevc Anderson, D.O. is a resident ot`Coffee County and a citizen of the Stare of
Georgia. Dr. Anderson is a medical doctor licensed in the State of Georgia. Pursuant to the
allegations herein, Dr. Anderson is subject to tire venue andjurisdiction oftnis Court.

6.

Tainmy Nicliolc Bass, LFN is a resident of Coffee County and a citizen oftlie State of
Georgia. Tanuny Nichole Bass is a nurse licensed in the State oi" Georgia. Pursuant to the
allegations herein, Tarnmy Nichole Bass is subject to the venue and jurisdiction ot` this Court.

7.

S]iantavia Jael<son is a resident of Coffcc County and a citizen of the State of Georgia. itt
all times relevant to this Complaint, Shantavia lackson was an empioyee and/or agent oftlie
CoFi`ee County Slieriff"s Oftiee and Coi`t`ee County, Georgia. Pursuant to the allegations herein,

Shantavia Jackson is subject to the venue and jurisdiction of` this Court.

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8.
Linda i~lolland is a resident of Coffee County and a citizen of the State oi` Georgia_ At all

times relevant to this Cornpiaint, Linda l-iolland was an employee and/or agent of the Coi"i`ee

County Sherii`i°’s Oftiee and Coffee County, Gcorgia. Pursuant to the allegations herein, Linda

Holland is subject to the venue andjurisdiotion ofthis Courti

9.

Asliley Ricketson is a resident ot`CoH`ee County and a citizen ofthe Statc of Georgia. At

all times relevant to this Coniplaint, Ashiey Ricketson was an employee and/or agent otthc

Coffee County Shcrist Ofiice and Cot`i`ce County, Georgia. Pursuant to the allegations iiercin,

Ashley Ricketson is subject to the venue and jurisdiction of this Court,
10.

lohn Courson is a resident oFCot"fee County and a citizen ofthe State oi` Georgia. At all

times relevant to this Complaint, lohn Courson was an employee andr'or agent of the Coft'ee

County Sheri fi’s Oft"ice and Coft`ee County, Gcorgia. Pursuant to the allegations herein, .lolm

Courson is subject to the venue and jurisdiction of this Couz“t.

ll.

Brent Hatclier is a resident ofCoft"ee Count_v and a citizen ofthc State ot"Georgia. At ali

times relevant to this Cornplaint, Brent l-lateher was an employee and/or agent of the Cot`fee
County Sherifi`s Ot"fice and Coffee County, Georgia. Pursuant to the al

legations iierein, Brent

Hatchcr is subject to the venue and jurisdiction of this Court.

~ww--. ._....u

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ll

Kaleb Smitli is a resident of Co ffee Connty and a citizen oftlre State oi`Georgia. At all

times relevant to this Coinplaint, Kalel) Smith was an employee andfor agent of the Cot`fee

County Slreri?s` Oftice and Coffee County, Georgia. Purstiant to the aliegations iierein, Kaleb

Smith is subjeet to the venue and jurisdiction ofthis Court.

13.

Miguel l.opez is a resident ofCot"t"ee County and a citizen ofthe State ofGeorgia. At all

times relevant to this Cornplaint, Miguel Lopez Was an employee and/or agent of the Coft”ee

County Shen` t`f’s Office and Coffee County, Georgia. Pursuant to the allegations herein, Miguel

Lopez is subject tn the venue andjurisdiction of this Couit.

14.

Charles Lewis Sntith, ll, is a resident of Coffee County and a citizen ofthe State of

Georgia. At all times relevant to this Complaint, Charles Lewis Smitli, ll was an employee

and/or agent of the Cot`iee County Sherit`f` s Ofi`ice and Cot`t`ee County, Georgia. Pursuant fn the
allegations herein, Charles Lewis Smith, ll is subject to the venue and jurisdiction of this Court.

15.

K.irn Phillips is a resident ofCoft`ee County and a citizen oftlie Statc ol"Georgia_ At all

times relevant to this Complaint, Kirn Phillips was an employee and/or agent of the Coi`t`ee

County Sheriff’s Ot`f`ace and Coffee County, Georgia` Pursuant to the allegations herein, Kim

Phillips is subject to the venue and jurisdiction of this Court.

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16.

Doer Wooten is a resident of Coffee County and a citizen ofthe State of Georgia. At all
times relevant to this Complaint, Doyie Wooten was an employee and/or agent of the Coffee
Countjr Sherifi" s Office and Coft`ee County, Georgia. Pursuant to the allegations herein, Doyle
Wooten is subject to the venue and jurisdiction of this Court.

i?`.

The Col"fee County Sheriii`s Officc is a division ofthe County Government in Cot`i`ee
County, Gcorgia. Pursuant to the allegations herein, the Coffee County Sherifl"'s leiice is subject
to the venue and jurisdiction of this Court.

18.

By virtue ofthe facts alleged herein, Del`endants acted as ajoint venture, arejoint
tortfeasors and have injured and damaged Piaintit"t`and are individually,jointly and severally
liable for their indivisible injuries and damages

19.

'l`he affidavit off-iarvey Jones, M.D. is attached hereto as “Exliibit A” and filed
contemporaneously with this Complaint for Damages in full compliance with O.C.G.A. § 9-l i-
9.1. Said affidavit sets forth at least one negligent act or omission related to the care and
treatment of Brandi Nicole Gril"`t`in Jones by Tarnmy Nichoie Bass, LPN, and Wallace Steve

Anderson, D.O.

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FACTUAL ALLEGATIONS
20.

On July 8, 2015, at 1845 hours, Brandi Nicole Griffin Jortes was booked into the Coffee

County Jail for housing for Atl<inson County by Defendant Charles Lewis Smith, II.
2l.

At all times relevant to this Complaint, the Coffee County Jail was owned and!or
operated by the Defendant Cot`tee County Shen`t`f"s Oftice and/or the Dct`endant Coffee County,
Gcorgia.

22.

At all times relevant to this Cornplaint, South Georgia Correctional Medicine, LLC, Dr.
Steve A`nderson Behavioral Medicine, LLC, and/or Dr. Steve Anderson, P.C. provided medical
services for the Coffee County Jail.

23.

At 2250 hours, Brandi Nicole Grit‘fln Jones Was seen by Detendant 'I`ammy Nichole
Bass, LPN for a medical screening The results of this screening ivere documented in the
“Medical Stat`i" Receiving Screening For`m”.

24.

At all times relevant to this Cornplaint, Det`endant Tammy Nicliole Bass, LPN ives an

employee and/or agent of South Georgia Correctional Medicine, LLC, Dr. Steve Anderson

Bei\avioral Medicine, LLC, and/or Dr. Steve Anderson, P.C..

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25.

”i`he “Medical Staff Screening Forrn” no-tated that Brandi Nicole Grift`in iones was a
patient of “Dr. K.ahn" for a bipolar condition, borderline personality disorder, and manic
depressionl

_26.

Thc “ivledical Staff Screening Form” notated that Brandi Nicole Grif“tin l ones was
currently prescribed prescription medicationbj'; a physician Ho\vever, there is no notation as to
what medication was prescribed and by ivhom.

27.

From March 2015 through Jul_v 2015, including during the time other incarceration,
Brandi Nicole Gt'it`fin lones maintained active prescriptions for Alprazolarn (Xanax),
Buprenorphine {Subutex), Esci_talopram Oxalate, Gabapentin, and‘Quetiapine Fumarate. Thcse
prescriptions were provided by Dr. Mubbashii' Muzza Khan-in Douglas, Georgia.

`_28.

The ‘.‘Medical Stat`f Screening Forrn” notated that Brandi Nicole Grift`m J ones used the
“drug" Subutex. However, there is no notation as to dosage amounts, frequency, orthe

prescribing physician

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2 9.
Contemporaneously with the aforementioned medical screening Brandi Nicole GriHin
lones signed a “Patient‘s Consent for Treatment” i`onn. 'I'liis form provided the following:
The undersigned, being in the custody of the County Shcril`t’s Department and
being.under the control of` the Countylail, hereby authorizes and requests that all
medical records and/or inforrnation, wherever located, including any hospital or
medical doctor or any other place where medical records may be located, be
released to the County Jail medical department for use by the medical department
regarding any treatment to be reviewed while in custody. l understand l will
provide this information to the medical department
l further authorize the County Jail medical department to evaluate and treat any
condition_that l may have or develop while in the custody of the CountySherit`f”s
Dep`artnient and County .lail. I acknowledge no guarantee or assurance has been
made as to the desired result that may be obtainedl
3 0.
Between iuly S, 2015 and July ll, 2015 Brandi Nicole GriFiin Jones medical records and
pharmacy records were not requested
31.
At 2349 hours, on july 8, 2015, a document entitled “Medical Questionnaire“ was created
in regards to Brandi Nicole Gn`t`lln lones. 'l`here are no notations in this document as to

prescription medication usage, dosage amounts, frequency, or the prescribing physician

32.

Between JuIy 8, 2015 and july l 1, 2015, Brandi Nicole Gril`iin lones remained in the

custody of the Coft`ee County Jail.

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33.

Between July 8, 2015 and .luly Il, 2015, Brandi Nicole anlin Joncs remained under the
care and custody ofTammy Nichoie Bass, LPN, Wallace Steve Anderson, D.O., South Georgia
Ccrrectional Medicine, LLC, Drt Steve Anderson Behavioral Medicine, I.LC, and/or Dr. Steve
Anderson, P.C.

34.

Between J`uly S, 2015 and July ll, 2015, Brandi Nicole Griftin lanes was not
administered Alprazolam (Xanax), Buprenorpliine (Subutex), Escitaloprarn Oxalate, Gabapcntin,
or Quetiapine Furnarate.

35.

The aforementioned failure to administer prescription medication to Brandi Nicole
Griffirt lones was documented by Det`endant Kaleb Sinith through instant messenger. Sec
“Exhib_it.B`-’, incorporated herein by reference

36.

 

Between .Tuly S, 2015 and July l i, 2015, Brandi Nicole Grifiin .lones exhibited
manifestations of withdrawal t`rorn her prescription medicationsl These manifestations include,
but are not limited to, protonged sleeping, an.‘<iety, confusion loss of appetite, sweating,
sensitivity to noise and light, headaches, and depression

37.
Between Juty 8, 2015 and July l l, QOES, Brandi Nicole Griffin fones was not evaluated

or administered medical care for her aforementioned symptoms

10

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38.
in the early hours of luly il, 2015, Brandi Nicole Griftin lones went into seizure-like
activity in her cell land lost consciousness
39
"l'he activity described in the foregoing paragraph was witnessed by inmate Josie Lee
Travis, A voluntary statement provided by losie Lee 'l`ravis to the Det`endants lohn Courson and

Brerit Hatcher stated the t`ollowing:

l Josie Travis was talking to the lady before l went to sleep she said she was
coming oft"ofSubutex and Xanax. And she has been asleep for 2 days and has not
eat anything She started to go in to convulsions (sic) and breathing hard hit the
walla_nd could not move. And l pushed the button and someone come to help.
40.
After theactivity described in the foregoing paragraph occurred, Brandi Nicole Griffin
J ones was transported to the Coffee chional tviedica! Center.

4§.

On July 15,' 2015, Brandi Nicole Griffin Jones was pronounced dead.

1'1

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42.
On lilly l?, 2015, an autopsy was performed on Brandi Nicole Griffin by Maryanne
Gafliiey-Krati at the Georgia Bureau of lnvestigation {GBI). The final autopsy report notated the

following

Toxicologi_cai analysis of hospital blood for ethyl alcohol is negative Analysis of
hospital blood for drug screen testing is negative for barbimrates, certain
benzodiazepines, cocainefcocaine metabolites and common opioids. Analysis of
hospital blood for drug confirmation testing is negative for certain basic drugs
(such as methadone and zolpidem) and certain amphetamines (sueh as
amphetamine}

43.
fn addition, the final autopsy report stated the following

Given the autopsy, toxicology, medical records review and investigative findings1
it is my opinion that the cause of death in this case is best diagnosed as
undetermined Given the investigative findings of the decedent telling her
cellmate that she {the decedent) was ‘conn'ng off" of Xanax and Subutex, the
cellmates statement that the decedent was sleeping and not eating for the past two
days, and"tlie cellmates witnessing of the decedent’s seizure»type activity, the
hospital clinical diagnosis of anoxic encephalopathy, the negative hospital
admission blood toxicology, and the lack of cause of death~specilic autopsy
tindings, the decedent’s cause of death .is most likely due to drug withdrawal
's“wi'drome'-`with sei:iure resultingL from the decedent’s sudden stoo`oaae.of Xanax
and-`S__iilautex`. Sinee drug withdrawal syndrome with seizure cannot be proven at
ao'ti`)`p'sy, the decedent’s manner ot` death is best classified as undetermined

 

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I.

CAUSES OF ACT{ON

CLAIMS AGAINST THE DEFENDANT TAMMY NICHOLE BASS, LPN, IN

HER PROFESSIONAL CAPACITY

44.

'l`he allegations contained in paragraph l through 43 are incorporated herein.

45.

Thc Defendant Tammy Nichole Bass, LPN breach the standard of care owed to Brandi

Nicole Gn't`lin .lones in, at least, the following particulars;

tel

(b)

(Cl

i(d)

tel

(fl

failing to provide adequate nursing assessment and evaluation of Brandi
Nicoie Giiffin Jones;

failing-to develop and follow an individualized plan ofcare, including the
administration ot` prescription medication, that was appropriate to meet
Brandi Nicole Gn't"fin Jones’ necds;

failing to obtain an adequate medical history, including current
prescription medication, for Brandi Nicole Gn'ffin Jones;
failingr§to__obtain the medical and pharmacy records for Brandi Nicole
Grii:t`inl Jones;

failing=to review the medical and pharmacy records for Brandi Nicole
Gri fiin Jones;

failing to adequately communicate Brandi l\licole Clrift`in Jones’ medical
condition and prescription medication requirements to Wallace Steve

Anderson, D.O.;

13

 

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(h)

(i)

(i)

failing t`o adequately communicate Br`andi Nicole Grifiin J ones medical
j condition and prescription medication requirements to the Coft`ee County

_`Sherifi"s Ot"i`ice;

. failing to adequately`communi_cate Braridi Nicole Grifiin iones' medical

condition and prescription medical requirements to the medical
department and perisonnel. at the Coffee County Jail;

failing to administer Brandi Nicole Grifiin lones prescription medication;
and

engaging in faise enacting and forgery in an attempt to cover up the
aforementioned acts and omissions.

46.

The foregoing deviations from the standard of care proximately and foreseeany caused

the untimely death of §randi Nicole Grifiin_ Jones.

4`7.

T»lie Piaintit`f, aslthé sur'.f_iving`spouse of Brandi'N_icoietG`riffin iones, has a cause of

action against the,Def`endantTanuny Nicole'§ass, lLPN under _tlieories'of ordinary negligence,

professional negligence,{_arnd'for all other.:theories of liabilityd

48.

Ttie Plaintift`; as the surviving spouse-ofBrandi l\li'cole Gi'ifiin fones, is entitled to

recover from Det`endant 'I'ammy Nicoie Bass, LPN for the wrongful death of his wife.

1a

 

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II. CLAIMS AGAINST TAMI\#IY NICHOLE BASS, LPN, IN HER INI}IVIDUAL

CA PACITY

49.

The allegations contained in paragraph l through 48 are incorporated herein.

50.

Tlie Defendant 'i`arnmy Nichole Bass; LPN breach the standard of care owed to Brandi

Nicola Griffm Jones in, at least, the following particulars:

{i<)

ill

tel

(O)

(Ct)

failing to provide adequate nursing assessment and evaluation or`Brandi
Nicoie Griftin Jones;

failing to develop and follow an individualized plan of care, including the
administration of prescription medication, that was appropriate to meet
Brandi Nicoie Grifiin lones‘ needs;

failing to obtain an adequate medical liistory, including current
prescription medication, for Brandi Nicole Grit`tin J_ones;

failing to obtain the medical and pharmacy records for §raridi Nicole
Grifiin Jones; `
failing to review the medical and pharmacy records for Brandi Nicole
Gri flin Jones;

failing to adequately communicate Brandi Nicole Grit"fin Iones’ medical
condition and prescription medication requirements to Wailace Steve
Anderson, D.O.;

failing to adequately communicate Brandi Nicole Grii"iin Jonc's1 medical
condition and prescription medication requirements to the Coffee County

Sheriff’s Ol`fice;

15

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(r) Failing to adequately communicate Brandi Nico!e Gn`fiin Jones’ medical
condition and prescription medical requirements to tire medical

department and personnel at the Cofi`ee County Jail;

(S) i`aiiing to administer Brandi Nicoie Griffin tones prescription medication;
and
(f) engaging in false charting and forgery in an attempt to cover up the

aforementioned acts and omissions
51.

'l`iie foregoing deviations from the standard of care constituted a deliberate indifference to
the medical needs"of Brandi Nicole Grit`tin Jones and a deprivation ot` her due process rights, in
violation the Eighth and Fourtccnlh Amendrnents ol` the United States Constitution.

52.
The foregoing constitutional violations proximately and foreseeany caused the untimely
death of Brandi_Nieole Grit"i`in lones.
53.
ril'he Plaintift`, as the surviving spouse ofBrandi Nicole Grifi`in .lones, has a cause of
action against the:Det`endant Tamrny Niehole Bass, LPN for violation ot`42 USC §1983, and is

entitled to recover from tire Dei`endant for the wrongii,rl death ot` his wife

16

 

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J{I.CL`AIMS ACAINSTDEFENDANT WALLACE STE`.VE ANDERSGN, D,O., IN HIS

PROFESSIONAL CAPACITY

54.

Tlte allegations contained in paragraph l through 53 are incorporated herein

55.

The Defendant Waliace Steve Anderson, D.O. breach tire standard of care owed to Brandi

Nicole Griffin Jones in, at least, tire following particulars:

(Ul

{Vl

ON)

(><)

(vl

(Z)

(33)

(bb)

failing to provide adequate medical assessment and evaluation of Brandi
Nicole Grifiin lones;

failing to supervise and monitor medical evaluations and assessments
performed by his nurses and staff;

failing to supervise and monitor the medical care provided by his nurses
and staft`;

failing to develop and follow an individualized plan ofcare, including the
administration ot` prescription medication, that was appropriate to meet
Brandi Nicole Grit'fin lones’ needs;

failing to obtain an adequate medical history, including current
prescription medication t`or Brandi Nicole Grifiin Jones;

failing to obtain tire medical and pharmacy records for Brandi Nicole
Grift`m lones; .

failing to review the medical and pharmacy records for Brandi Nieole
Griffin lones;

iailing to adequately communicate Brandi Nicolc Gril`*i`ln Joncs' medical

condition and prescription medication requirements to his nurses and staff;

'l?

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(cc) failing to adequately communicate Brandi Nicole firian lones’ mcdicai
condition and prescription medication requirements to the Coi"`fee County
Sheri Ft`s Oft`ice;

(dd) failing to adequately communicate Brandi Nicole Griffin _lones‘ medical
condition and prescription medical requirements to the medical

department and personnel at the Cofl"ee County lail;

{ee) failing to administer Brandi Nicole Gn` Ftin lones prescription medication;
and
(ff) engaging in t`aise cleaning and forgery in an attempt to cover up the

aforementioned acts and omissionsl
56.
"l`lie foregoing deviations from the standard of care proximately and foreseeably caused
the untimely death ot`Brandi Nicole Grift`in loncs.
57.
The Plaintiff, as the surviving spouse of Brandi Nicole Grifiin Jones, has a cause of

action against the Defendant Wallace Steve Anderson, D.O. under theories of ordinary

 

negligence professional negligencel and for all other theories ofliability.
58.
The Plaintiff, as tire surviving spouse ot`Brandi Nicole Grii`r`tn lones, is entitled to

recover from Det`endant Wallace Steve Anderson, D.O. for the \v`rongii.il death ot`his wife

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t ...______...,...…___.‘ __¢__-....du_........,_.¢....

.`..__..,..~.._.»»»».\~~-v.--¢s -.\r..

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IV. CLAIMS AGAINST \VALLACE STE VE ANBERSON, I).O., lN HIS

The al

Tiic D

IND[VIDUAL CAPACITY
59.
legations contained in paragraph l through 58 are incorporated herein
60.

efendant Wailace Steve Anderson, D.O. breach the standard of care owed to Brandi

Nicole Grii`fin Jones in, at least, the following particulars

(H)

(b)

(C)

failing to provide adequate medicai assessment and evaluation ofBrandi
Nicole GriHin lones;

failing to supervise and monitor medical evaluations and assessments
performed by his nurses and staff

failing to supervise and monitor the medical care provided by his nurses
and stafi`;

failing to develop and follow an individualized plan of care, including the
administration of prescription medication, that was appropriate to meet
Br__andi Nicoie Giiffin .lones’ needs;

failing to obtain an adequate medical history, including current
prescription medication, for Brandi Nicoie Grift`in J'ones;

failing to obtain the medical and pharmacy records for Brandi Nicole
Grit`f`in lones;

failing to review the medical and pharman records for Brandi Nicole
Griffin Jones;

failing to adequately communicate Brandi Nicole Gn`fnn Jones’ medical

condition and prescription medication requirements to his nurses and staff;

19

 

 

{i) failing to adequately communicate Brandi Nicole Grift`in Jones’ medical

condition and prescription medication requirements to the Coffee County
Sheriff`s force;

(j) failing to adequately communicate Brandi Nicole Griii`m Jones’ medical
condition and prescription medical requirements to the medical

department and personnel at the Coffee County lail;

(k) failing to administer Brandi Nicole Griftin jones prescription medication;
and
(l) engaging in false charting and forgery in an attempt to cover up the

aforementioned acts and omissionsl
6l.

The foregoing deviations from the standard of care constituted a deliberate indifference to
the medical needs ofBrandi Nicole Cnt`dn Jones and a deprivation of her due process iights, in
violation the Eigiith and Fourtcent_h Amendments~of the United States Constitution.

621

'I`lie foregoing constitutional violations proximately and foreseeably caused the untimely
death oi`Brandi Nicoie Griffm Jones.

63.

The Plaintiff, as the surviving spouse of B'randi Nieoie Grifiiri Jones, has a cause of
action against the Defendant Wailace Steve Anderson, D.O. for violation of42 USC §1983, and

is entitled to recover from the Dei`endant for tire wrongful death of his wife

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V. NEGLICENCE AND RESPONDEAT SUPERIOR CLAIMS AGAINST
SOUTH GEORGIA CURRECTIONAL MEDICTNE, LLC

64.

The allegations contained in paragraph l through 63 are incorporated lierein.

65 .

As alleged lierein, Defendant Sooth Georgia Correctional Medicine, LLC’s (inciuding its

related entities and subsidiaries) employees and agents were negligent
66.

U`nder the doctrine of respondeat superior, Defendant Soutii Georgia Correctional
Medicine, LLC (incloding its related entities and subsidianes} is responsible for.the acts and
omissions ot` its employee and agents

67.

In addition to 1166, the Defendant South Georgia Correctional Medicine, LLC was
negligent in hiring and retaining Defendant Wallace Steve A_nderson, D.O. and Defenc|ant
Tarnrny Nicholc Bass, LPN, as well as in failing to implementproper policies and procedures for
the care and_tre_atment of its patients

63.

The Plaintifi`, as tire surviving spouse of Brandi Nicole Grit`i`rn Jones, has a cause of

action against tire Defendant South Georgia Correctional Medieine, LLC for negligence

respondeat superior, and for all other theories ot`liability.

21

 

 

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69_

The Plaintit`f, as the surviving spouse ofBrandi Nicole Grift`in iones, is entitled to
recover from Det`endant South Georgia Conectional Medicine, LLC ior tire wrongful death of
his wife_

‘VI. CLAIMS AGAINST SOUTH GEGRGIA CORRECTIONAL MEDICINE, LLC
UNDER 42 u.S.c- § 1983
70.
Tlie allegations contained in paragraph l through 69 are incorporated herein
71.

Between July 8, 2015 and July i l, 2015, South Georgia Correctional l\/ledicine, LLC

provided medical services within the Col`fee Cottnty Jail.
72.

Between July S, 2015 and July t 1, 2015, Soutli Georgia Corrcctional Medicine, Li_C was

responsible for the medical care and treatment ofBrandi Nicole Grii`tin loncs7 a pre-trial

detainee

73.

Between lilly S, 2015 and July 1 1, 2015, South Georgia Correctional Medicine, LLC
failed to develop land institute policies and procedures, as weli as failed to trained its employee
and/or agents, to ensure the adequate medical care of pre-trial detainees in the Coit`ee County
Jail. Specif`ically, South Georgia Correctional Medicine, LLC:

a. Failed to develop and implement a medical screening procedure that comprehensively

evaluated pre-trial detainees upon intake into the Co ffee County Jail, resulting in 'l`amrny

22

 

 

      

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Nichole B_ass, LPN failing to document Brandi Nicole Griftin Jones’ prescription
medication requirements in tire July 8, 2015 “Medical Stai`t`Screeninr:,r Reeeiving Form";

b. Faiied to train Tarnmy Nichoie Bass, LPN in performing an adequate medical screening
ot"pre~tn`al detainees, resulting in the failure ofTaminy Nichole Bass to document Brandi
Nicole Grit`fin Iones’ prescription medications on the luly S, 2015 “Medical Staff
Screening Receiving Form";

c. Failed to develop and implement a procedure requiring the request of medical records for

d. Failed to train the medical department in the Cot`t`ee Count'y laii on the administration of
prescription medication to pre-trial detainees pursuant to a physicians orders, resulting in
Brandi Nicole Griffin Jones not receiving Alprazolain (Xanax), Buprenorphine
_(Sut)utex), lEscitalopran~i Uxaiate, Gabapentin, and Quetiapine Fumarate between luly 8,
2015 and July 11, 2015; and

e. Failed to develop and implement a procedure requiring the administration ofprescription
medication to pre-trial detainees pursuant to a physician’s order, resulting in Brandi
Nicole Grifi`in Jones not receiving Alprazoiam (Xanax), Buprenorpliine (Subutex),
Escitalopram Oxalate, Gabapentin, and Quetiapine Furnarate between July S, 2015 and

July 11,2015.

23

 

 

 

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74.

Tl'te foregoing acts and/or omissions by South Georgia Correctional Medicine, LLC
proximately and foreseeably resulted in a deliberate indifference to the medical needs oi`Brandi
Nicole Griftin lones and a deprivation other due process rights, in violation the Eighth and

Fourteenth Amendments oftlie United States Constitution.

?5.

The foregoing constitutional violations proximately and foresee

ably caused the untimely
death ofBrandi Nicole Griffin lones.

action against tlie Det`endant South Georgia Correctional Medicine, LLC for violation eide USC

§1933, and is entitled to recover from the Dcfendant for tire wrongful death of his ivit`e.

VL[. CLAIMS AGATNSTDR. STEVE ANDERSON B

EHAVI`ORAL MEDICINE,
LLC

77.

Tlie allegations contained in paragraph 1 through 76 are incorporated herein

its related entities and subsidiaries) empl

oyees and agents were negligent

79.

Under the doctrine ot`respondeat superior, Defendant Dr. Steve Anderson Behavioral

Medicine, LLC (inciuding its related entities and subsidiaries) is responsible for the acts and
omissions of its employee and agents

24

 

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8()_

"l`tie Defendant Dr. Steve Anderson Behavioral Medicine, LLC was negligent in lifting

and retaining Def'endant Wal

lace Steve A,nderson, D.O. and Det`endant Tarnmy Nichole Bass,

LPN, as Well as in failing to implement proper policies and procedures for the care and treatment

ofits patientsl

81.

Thc Plaintit`t`, as the surviving spouse ol`Brandi Nicole Griftin Jones, has a cause of

action against the Defendant Dr. Steve Anderson Beliavioral Medicine, LLC under theories ot`

negligencel respondeat superior, and for all other theories of li ability
82.

The Plaintiff, as the surviving spouse ot"Brandi Nicolc Gn't`fin Jones, is entitled to

recover from Defendant Dr. Steve Anderson Behavioral l\/ledicine, l.LC for the wrongful death
of his Wife.

VUI. CLAIMS AGAlNST DR. S'I`EVE ANDERSON, P.C.

83.

The allegations contained in paragraph l through 82 are incorporated hercin.

84.

ns alleged herein, Det`endant Dr.

Steve Anderson P.C‘s (including its reiated entities and

subsidiaries) employees and agents were negligent

85.

Under the doctrine of respondeat Superior, Def`endant Dr. Steve Anderson P.C (including
its related entities and subsidiaries) is responsibl

e for the acts and omissions ofits employee and
agents

25

 

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ss

The Defendant Dr. Stevc Anderson P.C was negligent in hiring and retaining Defendant

Wallace Steve Anderson, D.O. and Det`endant Tammy Nichole Bass, LPN, as well as in failing

to implement proper policies and procedures for the care and treatment ol` its patients

87.

action against the Defendant Dr. Steve Anderson Behavioral Medicine, LLC under theories of

negligence respondeat superior, and for all other theories ol`liability.

88.

The Plaintiff, as the surviving spouse ol"Brandi l\licole Grift`in Jones, is entitled to
recover Frorn Defendant Dr. Steve nnderson Behavioral Medicine, LLC for th

e wrongful death
of his wifc.

IX. CLAIMS AGA INST SHANTAVIA JACKSON,

Il\l HER INDIVIDUAL
CAPACITY

' 39.
The allegations contained in paragraph l through 88 are incorporated herein

90.

At all times relevant to this Complaint, the Defendant Shantavia iaclcson was ajai

ler at
the Col`fee County lail

91.

Between July 8, 2015 and July 1 l, 2015,.Defendant Shantavia lackson failed to provide

adequate medical care to Brandi Nicole Griflin lones, inc

luding, but not limited to, failing to

administer necessary prescription medications_and failing to timely and appropriately respond to

the serious medical condition pled in Tl‘ll 36-33.

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92.

The aforementioned acts and!or omissions of Det`endant Shantavia J

ackson constituted a

deliberate indifference to the medical needs ofBrandi Nicoie Grifiin .lones and a deprivation of
her due process rights, in violation the Eighth and Fourtcenth Aniendments ot`the United States

Constitotion.

93.

The foregoing constitutional viol

ations proximately and foreseeably caused the untimer

death oi"Brandi Nicoie Grit`fin Jones_

94.

Tiie Plaintiff, as the surviving spouse ot`Brandi Nicoio Griftin }ones` has a cause of

X. CLA IMS AGA[NST LINDA HOLLAND, IN HER INDIVIDUAL CAPACITY

95.

The allegations contained in paragraph l through 94 are incorporated herein

96.

At all times relevant to this Coinplaint, the Defendant Linda Holland was a jailer at the

Cot"fee Connty Jail.

97.

Between luly 8, 2015 and luly 1 i, 20l5, Defendant Linda l'lolland failed to provide

adequate medical care to Brandi Nicole Griftin lones, including, but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriately respond to

the serious medical condition pled in 1111 36-38.

27

 

 

 

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Constitution.

99.

Tlie foregoing constitutional violations proximately and foreseeabe caused the untimely

death ot`Brandi Nicole Griti`m lones.

lOO.

The Piaintift`, as the surviving spouse ofBrandi Nicole Gri t`iin lones, has a cause ot`

action against thc Detendant Linda Holland for violation ot`42 USC §t983, and is entitled to

recover from the Dei`endant Linda Flolland t`or the wrongful death of his \.vit'e.

Xl. CLAIMS AGA!NST ASHL

EY RICKETSON, IN HER l

NDIVIBUAL
CAPACITY

lOl_

The allegations contained in paragraph l through 100 are incorporated herein

102.

At all times relevant to this Cornplaint, the Defendant Ashiey Ricketson was ajailer at
the Coft`ee County lail.

103.

Between july 3, 2015 and luly l l, 20l5, Defcndant Ashley Riclcetson failed to provide

adequate medical care to Brandi Nicole Grit`iin loncs, including but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriately respond to

the serious medical condition pled in 1111 35-37.

28

 

 

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104.

The aforementioned act and/or omission of Defendant Ashley Ricl<etson constituted a

deliberate indifference to the medical needs of Brandi Nicole Grift`in Jones and a deprivation of

her doc process rights, in violation the Eighth and Fourteenth Amendments ot`the United States

Constitution.

\

105.

The foregoing constitutional violations proximately and foreseeably caused the untimely

death ofBrandi Nicolc Grit`lin lones.

IOC').

The Plaintii”t", as the surviving spouse ofBrandi Nicole Grift`in lones, has a cause of

action against the Det`endant Ashley Riclcctson for violation of42 USC §1983, and is entitled to

recover from the Defendant Ashlcy Ricl<etson for the wrongtiil dcatl

X}I.

iofhis wife

CLA!MS AGAINST JOHN COURSON, IN HIS INDIVIDUAL CAPAC]TY

107.

The

allegations contained in paragraph l through 106 are incorporated hereinl

IOS.

At all times relevant to this Complaint, the Defendant.lohn Courson was a jailer at the

Coffee County .lail.

109.

Bct\.veen iuly 8, 2015 and Jul_v l l, 2015, Defendant lohn Courson failed to provide

adequate medical care to Brandi Nicole Griffin jones1 including, but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriately respond to .

the serious medical condition pled in ml 36~38.

29

 

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llO.

The aforementioned act and/or omission of Det`e

deliberate indit`

ndant John Courson constituted a
t`erence to the medical needs of Brandi Nicole Griffin .loncs and a deprivation of

her due process rights, in violation the Eighth and Fourteenth A

niendtnents ofthc United States
Constitution.

lll.

"l`he foregoing constitutional violations proxirn

ater and foreseeably caused the untimely
death ofBrandi Nicole Griflin lones.

112.
Tlie Plaintiff, as the surviving spouse ofBrandi Nicole Griffin Jones, has a cause of

action against the Defenclani .lohn Courson for violation of 28 USC §1983, and is entitled to

recover from the Defendant John Courson for the wrongful death of his Wife.

XIII. CLAIMS AGAINST BRENT HATCHER, IN HIS INDIVIBUAL CAPACITY

113.

The allegations contained in paragraph l through l 12 are incorporated herein.

114.

At all times relevant to this Complaint, tl

te Defendant Brent fletcher was a jailer at the
Coffee County Jail.

115.

Between July 8, 2015 and July l l, 2015, Defendant Brent Hatcher failed to provide

adequate medical care to Brandi Nicole Griftin lones, including, but not limited to, failing to
administer necessary prescription medications and failing to time

l y and appropriately respond to
the serious medical condition plead in 'W 36“38.

30

 

 

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ll6.

The aforementioned act and/or omission ofDefcndant Brent Hatclicr constituted a

deliberate indifference to the medical needs ofBrandi Nicole Gzit`fln .lones and a deprivation of

her due process rights in violation the Eighth and l-`ourteenth Amendrnents oftlic United States

Constitut_ion.

_ death ofBrandi Nicole Griffin Jones.

Il8.

Thc Plaintiff, as the surviving spouse of Brandi Nicole Griffin lones, has a cause of
action against the Defcndant Brent Ha`tcher for violation ofle USC §1983, and is entitled to

recover from the Defendant Brent Hatchcr for the wrongful death of his wife.

XIV. CLAIIVIS AGAINST KALEB SMITH, lN HYS INDIV¥DUAL CAPACITY

l 19.
The al

legations contained in paragraph l through llS are incorporated herein

l20.

At all times relevant to this Complaint, the Det`endant Kaleb Srnith vv

as a_iailer at the
Co_t”fee County lail.

l?.l.

Between lilly 8, ZOIS and J'uly l l, 2015, Det`endant Kaleb Srnith failed to provide

adequate medical care to Brandi Nicole Griffi

n .lones, including but not limited to, failing to

administer necessary prescription medications and failing to time

l y and appropriately respond to

the serious medical condition pled in T|‘ll 36-38.

31

 

 

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122.

The aforementioned act and/or omission of Defendant l{alel) Sinith constituted a

deliberate indifference to thc medical needs ofBrandi Nicole Gr'i ffin Jones and a deprivation of

her due process rights, in violation the Eighth and Fonrteenth Amendments ofthe United States

Constitution.

123.

The foregoing constitutional violations proximately and foreseeably caused thc untimely

death of Brancli Nicolc Griffin Jones.

lZ¢l.

The Plaintiff, as the surviving spouse of Brandi Nicole Gri flin Jones, has a cause of

action against the Defendant Kaleb Smitll for violation ofle USC §1983, and is entitled to

recover B"om the Defendant Kalcb Srni_th for the wrongful death ofhis Wife.

XV. CLAIl\/IS `AGAI'NST MICUEL LOPEZ, IN HIS lNDlV]DUAL CAPACITY

125.

T_he allegations contained in paragraph l through 124 are incorporated herein

126.

At all times relevant to this Complaint, the Defendant Migucl Lopcz was ajailer at the

Co ffee County Jail.

l27.

Between luly S, 2015 and lilly l I, ZGl 5, Defendant Miguel Lopez failed to provide

adequate medical care to Brandi Nicolc Griftin lones, including but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriately respond to

the serious medical condition pled in "ll‘ll 35-37.

32

 

 

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128.

`l`lie aforementioned act and/or omission of Dei`endant Miguel I_opez constituted a

deliberate indifference to the medical needs ofBrandi Nicolc Grift`in lones and a deprivation of

her due process rights, in violation the Eighth and Fonneenth Amendrnents ofthe United States

CO nstitution.

129.
`l`h`e foregoing constitutional violations proximately and foreseeably caused the untimely
death ol`Brandi Nicole Griffin Jones.

130.
rl`he Plaintifi", as the surviving spouse ofBrandi Nicole Grifiin lones, has a cause of

action against the Defendant Miguel Lopez for violation of 42 USC §1983, and is entitled to

recover from the Del`eridant Miguel Lopez for the wrongful death ot`his wife

XVI. CLAIMS AGALNST CHARLES LEWIS .SMITH, III, IN HIS INDIVIDUAL
CAPACITY
13].
The aileg

ations contained in paragraph l through l30 are incorporated herein
132.

At all times relevant to this Complaint, the Defendant Charles Lewis Smith, II was a

jailer at the Coffee County Jail.

33

 

 

   

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i33.
Betiveen July 8, 20}5 and Jiiiy l l, 20§ 5, Dcfendant Charies I_ewis Smith, ll failed to
provide adequate medical care to Brandi Nicole Grii`tin lones, including, but not iirnited to,
failing to perform a proper medical assessment upon booking, failing to administer necessary
prescription medications, and tailing to timely and appropriately respond to the serious medical
condition pled in ‘g‘[l36*38.
l34.
The aforementioned act andfor omission ot" Dei`endant Charlcs Lewis Smith1 ll
constituted a deliberate indifference to thc medical needs ofBrandi Nicole Grifiin lones and a
deprivation of`her due process rights, in violation the Eighth and Fourtecnth Arnendrnents oftlie

United States Constitution.

l35.
The foregoing constitutional violations proximately and foreseeably caused the untimely
death of Bra.ndi Nicole Gri llin lones.
136.
Thc Plaiiitiff; as the surviving spouse of Brandi Nicole Gri'f{in lones, has a cause of
action against the Det`endant Charles Leivis Srnith, ll For violation ofle USC §1983, and is

entitled to recover from the Defcndant Charles Levvis Smith, ll for the Wrongful death of his

wi fe.

34

 

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XVII. CLAIMS AGAINST KJM PHILLIPS, lN HER INDIVIDUAL CAPACITY

137.

The allegations contained in paragraph l through 136 are incorporated herein

l38.

At ali times relevant to this Cornplaint, the Defenclant Kim Phillips 1»vas ajailer at the

Coffee County lail.

l39.

Between lilly S, 2015 and luly l l, 2015, Defendant l{im Phillips failed to provide

adequate medical care to Brandi Nicole Grit`iin lones, including, but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriately respond to

the serious medical condition pled in wl 36-3&

140,

Tlie aforementioned act and/or omission ot`Det`endant Kini Phillips constituted a

her due process rights, in violation the Eighth and Fourteenth Ainendments of the United States
Constitntion.

l4l.

The foregoing constitutional violations proximately and foreseeany caused the untimely

death of Brandi Nicole Grifi`in iones.

142.

The Plaintit`i`, as the surviving spouse oi`Brandi Nicole Gri t`fin iones, has a cause of

action against the Defendant Kim Pliillips for violation old-2 USC §1983, and is entitled to

recover from the Det`endant Kirn Phiilips for the wrongful death of his wife

35

 

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XVI`II.CLAIMS AGAINST BOYLE WOOTEN, IN HIS INDIVIDUAL CAPACITY

143.

Tlie allegations contained in paragraph l through 142 are incorporated herein.

144.

At all times relevant to this Complaint, the Det`endant Doyle Wooten was the Slieri ffin

Coffee County, Georgia and at the Coffee County lail.

145,

Between July S, 2015 and luly ll, 2015, Dct`endant Doyle Wooten failed to provide

adequate medical care to Brandi Nicole Giiffrn lones, including, but not limited to, failing to

administer necessary prescription medications and failing to timely and appropriater respond to

the serious medical condition pled in ‘l|“ff 36-3?.

l45.
The aforementioned act and/or omission of Dcfendant Doyle Wooten constituted a

deliberate indifference to the medical needs ofBrandi Nieole Griftin lones and a deprivation of

her due process riglits, in violation the E`.ighth and Fourtccnth Amendments of the [_lnited States

Constitution.

l¢l?.

Tlie foregoing constitutional violations proximately and foreseeably caused the untimely

death of Brandi Nico]e Griftin Jonr:s.

36

 

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)`_`___r:‘ r. :

143.

'l`he Plaintiff, as the surviving spouse ot`Brandi Nicolc Griffin lones, has a cause of

action against the Defendant Doyie Wooten for violation ot`42 USC §1983, and is entitled to

recover From the Dei`endant Doyle Wooten for the wrongful death oi`his \v'ile.

XlX. CLAIM`S AGAINST DOYLE WOOTEN, lN HIS SUPERVISORY CAPACITY

|49.

The allegations contained in paragraph l through 148 are incorporated herein

150.

At all times relevant to this Complaint, the Defendant Doyle Wooten was the Sheriffin

Coft`ce County, Georgia and at the Coffee County lail.

15 t.
Det`endant Doyle Wooten tvas responsible t`or the training and implementation o'fpolicics

and procedures regarding the administration oftnedication to inmates in jail, the investigation

and treatment oi`\=vithdrawal syndrome ot`inmates, and the medical treatment provided to inmates

in the Coft`ee County Jail.

152_

Prior to July 8, 2015, Defendant Doyle Wooten tvas on notice ot`the need for proper

training, as well as policies and proceduresl regarding the investigation and treatment of inmates

Ha§per v. Lawrence Count};,

in the Coft`ee Courity Jail suffering from withdrawal syndrome See

592 F_sD 1221 1237 ii i'*‘oir., 2010)

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153.

Prior to luly 8, 20l5, Defendant Doyle Wooten failed to provide proper training in the

investigation and treatment of inmates suffering withdrawal syndrome, and failed to implement

policies and procedures regarding inmates suffering withdrawal syndrome

154.

ofthe Coffee County lail that resulted in the delayed investigation and treatment ofinmates

suffering \vitltdrawal syndrome

g 155.

'l`he aforementioned failures proximately and foreseeably resulted in the deliberate

indifference to Brandi Nicole Griffin lones’ medical care between lilly 8, 2015 and luly ll,

2015, violating the Eighth and Fourteenth Arnendnients oftlie United States Constirution.

156.
Tlie Plaintiff, as the surviving spouse ofBrandi Nicolc Griffin lones, has a cause of
action against the Defendant Doyle Wooten for violation of 42 USC § 1983, and is entitled to

recover from the Defendant Doyle Wootcn for the wrongful death of his wife

XX. CLA_IMS AGA[NST SOUTI;I COFFEE COUNTY SHERIFF’S OFFICE

UNDER 42 U.s.C- § 1983

157.

'l`hc allegations contained in paragraph 1 through 156 are incorporated lierein.

38

 

 

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158.

Bctween july 8, 2015 and lilly 11,2015, Del`endant Cofl`ee Cotinty Sheriff’s Ol`tiee
operated the Coft`ee County lail, and was responsible for the care ot` the pretrial detainees held
there. See O.C.G.A. § 42-4-4

159.

Between July 8, 2015 and luly l l, 201 S, Defendant Coffee County Slieriff"s Oft`ice was
responsible for the'medical care and treatment ot` Brandi Nicole Griftin lones, a pretrial
detainee See O.C.G.A. §42~4-4

150.

Bet‘.veen luly S, 2015 and Jnly l l, 2015, Del`endant Coil`ee Coenty Sheriff"s Ofiice failed
to develop and institute policies and procedures, as weil as failed to train its employee and!or
agents to ensure the adequate medical care ofpre~trial detainees in the Coffee County Jail.
Speeitically, Defendant Coi`fee County Sherit`f"s Oftice:

t`. Fai led to develop and implement a medical screening procedure that comprehensively
evaluated pre-trial detainees upon intake into the Cot`t`ee County Jail, resulting in the
failure to document Brandi Nieole Griflin Jones` prescription medication requirements
upon booking on lilly S, 2015;

g. Failed to train the booking jailers in performing an adequate medical screening ofpre»
trial detainees, resulting in the failure to document Brandi Nicole Grit`i“ln loncs`
prescription medication requirements during the luly 8, 2015 intake;

h. Failed to develop and implement a procedure requiring the request ot` medical records for

pre-trial detainees with documented medical needs upon intake into the Coffee Cotinty

39

  

 

 

  

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lail, resulting in the failure ot`tne Coffcc County Jeil medical department to request end
review Brendi Nicolc Grifiin’s medical amd pharmacy records,'

i. Failed to train thc medical department in the Coff`ee County .Iail on the administration of
prescription medications to pre-trial detainees pursuant to n physicians orders, resulting
in Brandi Nicole Grifiin J'ones not receiving Alprazolam (Xzanax), Buprenorphine
(Subutex), Escitalopram Oxnlnte, Gabapentin, and Quetiapine Furnarate between July S,
2015 end luly ll, 2015,'

j. Faiied to develop and implements procedure requiring the administration of prescription
medications to prc-trial detainees pursuant to a physicians order, resulting in Brendi
Nicole Griffin Jones not receiving Alprazolam (Xnnax), Buprenorphine (Subutex),
Escitaloprani Oxnlate, Gai)apentin, end Quetiapine Fumarate between lilly S, 2815 and
July t l, 20|5; and

l<. Failing to train thejai]ers in the Coff`ee County lail on how to detect and treat pre-trial
detainee suffering From withdrawal syndrome, resulting in Brandi Nicole Grit`fin Jones’
misdiagnoses of, and inadequate medical treatment for, withdrawal syndrome between
fuly 3, 2015 end July ll, 2015. See Exiiibit A, incorporated herein by reference

16l.
Tlie foregoing acts amd/or omissions by Def`endant Coffee County Sheriff’s Oi`fiee
proximateiy and l"oresceabiy resulted in n deliberate indifference to the medical needs of Brandi
Nicolc Grif‘fin lones and a deprivation ofher due process riglits, in violation the Eighih and

Fourteenth Arnendments of the United S£ates Constitution.

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162.

'I`he foregoing constitutional violations proximately and foreseeably caused tlie untimely
death oi`Brandi Nicole Griffin Jones.

163.

Tlie Plaintil"t", as the surviving spouse ofBrandi Nicole GriHin lones, has a cause of
action against the Defendant Coft`ce Count;,r Shcrit`f’s Office t`or violation of42 USC §1983, and
is entitled to recover from the Dcfenciant for the wrongful death of his wife

WHEREFORE, Plaintiffprays as foilows:

a) Tliat he recover for the value ot`his Brandi Nicole Griffin lones‘ lif`e;

c) Plaintift`demand judgment in excess of`S 10,000.00

d) Tliat tile costs ofthis action be taxed against DeFendaiits;

e) Tltat Piaintiffhas a trial by fair and impartial jurors; and

ij Tliat Plaintiffhas such other and further reiicfas the Coui‘t andjury deem

appropriate u der the circumstances
This dig day Or`__`_m__i:i;j`_~, 201 7.

     

oéorg L_ Piniiips, n_
Georgia Bar No.' 230301

Dozier Law Firm, LLC
327 'I`liird Street

PO Box 13

Macon, GA 31202~0013
(-’178) 742~8441

ATTORNEYS FOR PLAINTIFF

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P.LEASE SERVE THE DEFENDANTS A'T’ THE F{}LLDWING

/'i, Waiiace Steve Ancieison, D.Ci.
_231 i OCilla Road
Douglas, GA 31533

§~.`l

South Georg,ia Correc£ional Medicine, LLC
ci'o Sie'v‘e Anderson

1311 Ocilla Road

Douglns, GA `.H$BS

/ 3. Dr.`S£eve Anderson Behavioral Medic'me, LLC
cio S¥eve Anderson
1311 Ocilla Road
Donglas, GA 33 533

/=5. Dr. Stcve Anderson, P.C.
c/o Ste‘,'e A:ider'»_.on
1311 Ocilla Road
Douglas, GA 3`1533

5. T€mmiy Nieole Bass, LPN
560 Pine Thic!<e! Roed
Dougles, GA 31533

#6. S_hantavia .lackson
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7. Linda Holland
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A'mbrose, GA 315 12

8\ Ashley'i€jciie:son
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9. .Iohn Courson
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l-l). Brent Hatchcr

1900 Raccoon Bridge Road
Dougias, GA 31535

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11.`

14.

15.

16.

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. Miguel Lopcz

131 P¢a¢h com
oougla.s, on 31533

. Charles Lc‘:wis Smiih. ll

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Cof?ee Count_v Sherifi"'s Omce
cio Doyle Wooten

825 Thom_pson Drivc
Douglns, GA 3 l535

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AFFlDAVlT OF HARVEY JONES, M.D.
State of Georgia
Blbb County
lNTRGDUCTlON:

thy name is Harvey Jones! M.D. l arn over the age of 18 years and l suffer from
no disability Whicn Woo|d render me incompetent to make this affidavit Wnich is based
upon my review of the medical records of Brandi l\ilcole Grilfin Jones from Wallace
Steve Anderson, D`O. in Douglas, Georgia, records from the Co?tee County Slierifl's
Department, records from South Georgia Correclional, l_LC in Douglas, Georgia,
medication records from Behavioral l-leallh Familv Practice in Douglas, Georgia.
medication records from KMART Pnarmacy in Douglas, Georgla, and the GBl autopsy
report dated Oclober 12, 2015. Based on my education training and experience l am
familiar With the standard of care ordinarily exercised by members of the medical
profession generally under similar conditions and like surrounding circumstances which
are described herein, and are reflected in Brandi Nicole Grifiin Jones’ records
BACKGROUND, TRAIN£NG, EXPER!ENCE AND QUALlFlCATlONS:
l_icensure and Education:

l arn a medical doctor licensed to practice medicine in the State of Georgia. l Was
licensed to practice medicine in the State of Georgia at the time of the events discussed
herein, and l remain continuously so licensed at the present time At the time of the

events discussed herein, l Was actively practicing medicine in the State of Georgia.

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Actual Practice Experience with the Conditions and Acts of this Case
in July 2015 l had, and today have actual professional l<no\.t.rledgel skill, training,
education, and experience in the area of practice and specialty involved in this matter.
Since at least 1984, and including the 5 years preceding duly 2015, l have been
regularly engaged in the active practice ot internal and family medicine, including in
office settings like the ones where Brandi Nicole Griffin Jones was evaluated and
treated by Wallace Steve Anderson, D.O. and Tammy i\lichole Bass, LPN\ vvith
sufficient frequency to establish an appropriate level of knowledge with regard to the
appropriate care and management of patients including the management and care of
Brandi i\licole Griftln Jones by Wallace Steve Anderson, D.O., Tarnmy Nichole Bass,
LPN, and their respective employers including South Georgla Correctional, i_LC. The
actual professional knowledge that l have gained by the active practice of internal and
family medicine enables me to express an opinion as to whether Wailace Steve
Anderson, D.O., Tamrny i\lichoie Bass, LPN and other personnel met the applicable
standard of care during the Brandi l\ilcole Gn`tfin ..iones’ incarceration in July of 2015.
Specificalty, for each of the five years preceding July, 2015 and extending to the current
date, l have evaluated examined treatedl and supervised the treatment and care of v
patients simiiar to Brandi Nicole Grittin .lones.
RECORDS REV|EW
ln reviewing the records identified above, l noted the following information
contained in these records:
o From lvlarch 2015 through .luly 2015, Brandi Nicole Griffin Jones was
prescribed Alprazolam (Xanax). Buprenorphlne (Subutex), Escitalopram

Oxalate, Gabapentinl and Quetiapine Furnarate by Dr. lviubbashir Muzza
Khan of Behaviorai Health Family Practice in Douglas, Georgia.

 

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At 1845 hours on Juiy 8, 2015, Brandi l\licole Gritfin Jones was booked
into the Cottee County Jail.

At 2250 hours on July 8, 2015, Brancli Nicole Grittin Jones, age 29, Was
seen by Tarnrnie Elass, I_PN, for a medical screening in the Coifee County
Jail. The results ot this screening were documented in the "lvledicai Statt
Recetving Screening t-'orm",

A past medical history obtained by Tammie Bass, LPN, noted that Brandi
Nicole Griffin Jones was treating with Dr. Kahn for a bipoiar conditionl
Border|ine Personaiity Disorder, and Manic Depression.

Tarnmle Bass, LPN also noted that Brandi Nicote Griftin Jones was
currently prescribed medication by a physician However, there was no
notation as to what medication was prescribed and by whom_

"i`ammie Elass, LPN, noted that Brandi Nicole Gritiin Jones used the "drug"
Subutex. l~lowever, there was no notation as to dosage amounts and
frequency

At the time of this screening Brandi Nicole Grittin donee signed a Patient's
Consent for Treatment torrn authorizing South Georgia Correctional to
obtain medical records l~iowever, there is no record of medical or
pharmacy records being requested

On July 1'l, 2015, Brandi Nicote Griftin Jones went into a seizure-type
activity in her cell and lost consciousness

On duly 15, 2015. Brandi Nicole Grltfin Jones Was pronounced dead in the
Cotfee Ftegional lviedical Center_

On July 17, 2015, an autopsy was performed on Brandi Nicole Gritfin
Jones by l\/laryanne Gattney~l<ratt at the Georgia Bureau ot investigation
(GB|). During the autopsy the following was noted:

o A drug screen analysis of the blood from the hospital was negative
for barbiturates benzodiazepines, cocaine and common opiates, A
drug confirmation analysis of the blood from the hospital was
negative for certain basic drugs (methadone and zotpidem) and
certain amphetamines

The autopsy report indicates that Brandi Nlcoie Grittin .lones' cause ot
death was “most likely due to drug withdraw syndrome with seizure
resulting from the decedents sudden stoppage of Xanax and Subute)r."

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OP|N|ONS

lt is my professional opinion, within a reasonable degree of medical certainty and
probability based on the tacts set forth herein and the records reviewedl that Watlace
Steve Anderson, D.O. and `l`ammy Nichole Bass. LPN, failed to adhere to the standard
of care generally employed in the medical profession generally, and under the same
conditions and like surrounding circumstances in their care of Brandi Griffin Jones‘
f~\lthough the records leave some questions unanswered and l reserve the right to
supplement my conclusions upon the receipt of additional information it is clear that
Wallace Steve Anderson, D‘O. and Tammy l\lichole Bass, LPN breached the standard
of care in at least the following ways:

1. Tammy Nichole Bass, LPN failed to obtain an adequate medical history,
including current prescription medications and dosages, from Brandi Nicole
Griffin Jones, as required by the standard of care

2_ Wallace Steve ifl\ndersonf D.O., failed to obtain an adequate medical history,
including current prescription medications and dosages, from Brandr' l\licole
Gritfin donee as required by the standard of care.

3. Tarnmy Nicole Bass, LPN, failed to review or order the medical records
including the pharmacy records, of Brandi Nicole Griffin Jones, as required by
the standard of care.

4. Wallace Steve Anderson, D.O., failed to review or order the medical records,
including the pharmacy records, of Brandi Nico|e Griffrn Jones, as required by

the standard of care.

 

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Jones. l\lor is it the purpose of this affidavit necessarily to set forth ali of the
consequences of the care and treatmenti or the lack of care or treatment received by
Brandi l\iicole Gril"'fin Jones. liowever, it is only the intention of this affidavit to set forth
at least one instance of the failure to exercise the appropriate standard of care by
Tamrny Nichole Bass, LPN, Wallace Steve il\ndersonl D.O, and their respective
employers including South Georgia Correctional, l.t.C.

This affidavit is given solely in connection With the requirements of O.C.G.A. § Q~
tt-Q_l_ lilly affidavit is the product of reliable principles and methods of medicine and l
have applied these applicable principles and methods reliably to the information

available to me about this matter

FURTHER AFF§ANT SAYE`l'l-l NOT

id owed iiQ/@/WMD

l~l'arvey Jones lvl DJ

 

 

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